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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 05-cv-00243-RPM-MJW

   DONALD K. BORTZFIELD,

   Plaintiff(s),

   v.

   STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY,

   Defendant(s).
                                        MINUTE ORDER

   Entered by Magistrate Judge Michael J. Watanabe

          It is hereby ORDERED that Plaintiff’  s Motion to Compel Discovery (docket no.
   53) is GRANTED IN PART AND DENIED IN PART. The motion is GRANTED as
   follows. State Farm shall provide to Plaintiff a copy of State Farm’s file compiled in the
   ordinary course of adjusting Plaintiff’
                                         s UIM claim minus the three documents listed in
   the privilege log. State Farm shall pay the cost for this copy of State Farm’ s file
   compiled in the ordinary course of adjusting Plaintiff’s UIM claim minus the three
   documents listed in the privilege log since such disclosure is required under Fed. R.
   Civ. P. 26(a)(1). The remainder of the motion is DENIED.

           Defendant State Farm Mutual Automobile Insurance Company (“State Farm”)
   has disclosed 420 pages of “State Farm’      s file compiled in the ordinary course of
   adjusting Plaintiff’
                      s UIM claim.” Moreover, State Farm has provided Plaintiff with a
   privilege log which identifies three documents within State Farm’      s file compiled in the
   ordinary course of adjusting Plaintiff’  s UIM claim. Based upon State Farm’     s response,
   State Farm is only claiming privilege to three documents as outlined in the privilege log
   provided to Plaintiff. Finally, Plaintiff has failed to demonstrate any legal authority to
   challenge the claimed privilege of the three documents listed in the privilege log.


   Date: November 17, 2005
